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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               NORTHERN DIVISION

JENNELL BLACK, et al.                      *
                                           *
       Plaintiffs,                         *
                                           *
v.                                         *      Civil Action No. 1:20-cv-03644-CCB
                                           *
THOMAS WEBSTER IV, et al.                  *
                                           *
       Defendants.                         *
*      *     *       *      *       *      *      *      *       *      *      *      *     *


                                  [PROPOSED] ORDER

       Upon consideration of Defendnat Webster, Manos, Cleveland, Petyo, Town of Greensboro,

Town of Ridgely, and Town of Centerville’s Motion to Strike Notice of Acceptance of Rule 68

Offer of Judgment (ECF 132) and the Repsonses filed thereto by Plaintiffs (ECF 137 & 140), the

Motion is DENIED.

       SO ORDERED this ____ day of ____________, 2022.




                                                  _______________________________
                                                  UNITED STATES DISTRICT JUDGE
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of June, 2022, notice of the foregoing filing was

electronically filed in this case through the ECF system and a copy was served electronically

upon counsel of record.

                                                     /s/ John A. Freedman
                                                     John A. Freedman




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